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                                             UNPUBLISHED

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                               No. 23-4346


        UNITED STATES OF AMERICA,

                             Plaintiff - Appellee,

                      v.

        JARRELL RAESHON BORDEAUX,

                             Defendant - Appellant.



        Appeal from the United States District Court for the Eastern District of North Carolina, at
        Raleigh. Richard E. Myers, II, Chief District Judge. (5:20-cr-00428-M-1)


        Submitted: August 22, 2024                                        Decided: August 26, 2024


        Before WILKINSON, WYNN, and RICHARDSON, Circuit Judges.


        Affirmed by unpublished per curiam opinion.


        ON BRIEF: Louis H. Lang, CALLISON, TIGHE &amp; ROBINSON, LLC, Columbia, South
        Carolina, for Appellant. David A. Bragdon, Assistant United States Attorney, Kristine L.
        Fritz, Assistant United States Attorney, OFFICE OF THE UNITED STATES
        ATTORNEY, Raleigh, North Carolina, for Appellee.


        Unpublished opinions are not binding precedent in this circuit.
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        PER CURIAM:

               Following a three-day trial, a jury convicted Jarrell Raeshon Bordeaux of conspiracy

        to distribute and possess with intent to distribute 100 grams or more of heroin and 400

        grams or more of fentanyl, in violation of 21 U.S.C. §§ 841(a)(1), 846, ten substantive

        counts of distributing unspecified quantities of heroin and fentanyl, in violation of 21

        U.S.C. § 841(a)(1), possession with intent to distribute 100 grams or more of heroin and

        40 grams or more of fentanyl, in violation of 21 U.S.C. § 841(a)(1), and possession of a

        firearm in furtherance of a drug trafficking crime, in violation of 18 U.S.C. § 924(c)(1)(A).

        The district court subsequently imposed an aggregate 248-month downward variant

        sentence. On appeal, Bordeaux’s counsel has filed a brief pursuant to Anders v. California,

        386 U.S. 738 (1967), conceding that there are no potentially meritorious issues for appeal,

        but questioning several aspects of the proceedings below. Although advised of his right to

        file a pro se supplemental brief, Bordeaux has not done so. The Government has declined

        to file a response brief. For the reasons explained below, we affirm the district court’s

        judgment.

               First, counsel argues that the superseding indictment was legally insufficient as to

        the conspiracy count because it did not specifically allege that Bordeaux had an agreement

        to distribute narcotics with two or more persons. In considering this argument, the district

        court relied on our unpublished decision in United States v. Black, 133 F.3d 917, 1997 WL

        787090, at *1 (4th Cir. 1997) (table), to hold that the indictment was sufficient because it

        alleged a conspiracy to distribute drugs; the relevant time frame, place, and drugs involved;

        and cited the statute allegedly violated. “We review the district court’s factual findings on

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        a motion to dismiss an indictment for clear error, but we review its legal conclusions de

        novo.” United States v. Perry, 757 F.3d 166, 171 (4th Cir. 2014) (internal quotation marks

        omitted).

               Upon review, we agree with the district court’s legal holding as it is consistent with

        the rationale expressed in Black. Notably, the conspiracy count charged Bordeaux with

        violating 21 U.S.C. §§ 841(a)(1), 846 by conspiring and agreeing to distribute and possess

        with intent to distribute certain quantities of heroin and fentanyl, in the Eastern District of

        North Carolina and elsewhere, from October 2019 through on or about June 30, 2020. The

        court’s rationale is also supported by persuasive sister circuit authority. Specifically, as

        the district court explained, the indictment was not legally insufficient—despite not

        alleging that Bordeaux “conspired with persons known and unknown”—because “the word

        ‘conspiracy’ incorporates within its definition an agreement with another person.” (E.R.

        1842) *; see United States v. Thomas, 348 F.3d 78, 83-84 (5th Cir. 2003) (holding that

        indictment was sufficient “because the involvement of another person acting in concert

        with [the defendant] is implicit in the use of the words ‘combine, conspire, and

        confederate’” as stated in the indictment, and the evidence at trial showed that the

        defendant conspired with another person). We thus reject this assignment of error.

               Bordeaux next questions whether sufficient evidence supports his conspiracy

        conviction. “We review the denial of a motion for judgment of acquittal de novo.” United

        States v. Savage, 885 F.3d 212, 219 (4th Cir. 2018). In assessing the sufficiency of the


               *
                   Citations to the “E.R.” refer to the compiled Electronic Record.

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        evidence, we determine whether there is substantial evidence to support the conviction

        when viewed in the light most favorable to the Government. Id. “Substantial evidence is

        evidence that a reasonable finder of fact could accept as adequate and sufficient to support

        a conclusion of a defendant’s guilt beyond a reasonable doubt.”            United States v.

        Rodriguez-Soriano, 931 F.3d 281, 286 (4th Cir. 2019) (cleaned up). In making this

        determination, we may not resolve conflicts in the evidence or evaluate witness credibility.

        Savage, 885 F.3d at 219. “A defendant who brings a sufficiency challenge bears a heavy

        burden, as appellate reversal on grounds of insufficient evidence is confined to cases where

        the prosecution’s failure is clear.” Id. (internal quotation marks omitted).

               To convict Bordeaux of conspiracy to distribute the specified quantities of heroin

        and fentanyl, the Government had to prove each of the following elements beyond a

        reasonable doubt: (1) there was an agreement between two or more persons to possess

        with intent to distribute the charged narcotics; (2) Bordeaux knew of this agreement or

        conspiracy; and (3) Bordeaux knowingly and voluntarily participated in or became a part

        of this agreement or conspiracy. United States v. Green, 599 F.3d 360, 367 (4th Cir. 2010);

        United States v. Burgos, 94 F.3d 849, 857 (4th Cir. 1996) (en banc).

               As to the first element—which is (and was) the only element in dispute—the trial

        transcript confirms that, during the underlying investigation, Bordeaux made statements to

        both the involved confidential informant and the lead detective that proved that Bordeaux

        received the drugs he sold from an unidentified third party. Moreover, evidence of a

        defendant buying or selling a substantial quantity of drugs over a short period of time is

        enough to raise an inference of a distribution conspiracy, United States v. Reid, 523 F.3d

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        310, 317 (4th Cir. 2008), and the Government’s evidence established that Bordeaux sold

        approximately 260 grams of heroin and fentanyl to the confidential informant over the

        charged period. On this record, we readily conclude that the Government satisfied its

        burden of proof as to the conspiracy count.

               Finally, Bordeaux assigns error to the court’s rejection of his motions to suppress

        evidence seized from his residence and a storage unit pursuant to search warrants and for

        reconsideration of that ruling, both of which posited that police officers made false

        statements in their warrant applications. In evaluating the denial of a motion to suppress,

        “we review that court’s legal conclusions de novo and its factual findings for clear error,

        considering the evidence in the light most favorable to the government.” United States v.

        Kolsuz, 890 F.3d 133, 141-42 (4th Cir. 2018).

               A defendant is entitled to attack an otherwise facially valid search warrant affidavit

        under the “narrow exception” created in Franks v. Delaware, 438 U.S. 154 (1978). “To

        obtain a Franks hearing, a defendant must make a substantial preliminary showing that the

        affiant made (1) a false statement (2) knowingly and intentionally, or with reckless

        disregard for the truth that was (3) necessary to the finding of probable cause.” United

        States v. White, 850 F.3d 667, 673 (4th Cir. 2017) (internal quotation marks omitted). Upon

        review of the orders, we agree with the district court that nothing in either motion justified

        a Franks hearing because, at bottom, Bordeaux did not explain the basis for his multiple

        assertions of falsity or make a sufficient showing that the officers acting knowingly or

        intentionally or with a reckless disregard for the truth. We thus affirm the denial of

        Bordeaux’s initial motion to suppress and find no abuse of discretion in the court declining

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        to reconsider that ruling. See United States v. Dickerson, 166 F.3d 667, 677-78 (4th Cir.

        1999) (providing standard of review for denial of motion to reconsider previously

        adjudicated motion to suppress), rev’d on other grounds, 530 U.S. 428 (2000).

               In accordance with Anders, we have reviewed the entire record in this case for any

        potentially meritorious issues and have found none. We therefore affirm the district court’s

        judgment. This court requires that counsel inform Bordeaux, in writing, of the right to

        petition the Supreme Court of the United States for further review. If Bordeaux requests

        that a petition be filed, but counsel believes that such a petition would be frivolous, then

        counsel may move in this court for leave to withdraw from representation. Counsel’s

        motion must state that a copy thereof was served on Bordeaux.

               We dispense with oral argument because the facts and legal contentions are

        adequately presented in the materials before this court and argument would not aid the

        decisional process.

                                                                                     AFFIRMED




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